            Case:
ILND 450 (Rev.        1:18-cv-08175
               10/13) Judgment                Document #: 882 Filed: 04/10/24 Page 1 of 2 PageID #:56845
                               in a Civil Action


                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

Kove IO, Inc. ,

Plaintiff(s),
                                                           Case No. 18 C 8175
v.                                                         Judge Matthew F. Kennelly

Amazon Web Services, Inc.,

Defendant(s).

                                          JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                         which       includes       pre–judgment interest.
                                     does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s)
                  and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


                 other: The Clerk is directed to enter judgment in favor of plaintiff Kove IO, Inc. and against
defendant Amazon Web Services, Inc., as follows: (a) On Count 1 of plaintiff’s complaint, finding infringement
by defendant of U.S. Patent No. 7,814,180; (b) On Count 2 of plaintiff’s complaint, finding infringement by
defendant of U.S. Patent No. 7,233,978; (c) On Count 3 of plaintiff’s complaint, finding infringement by
defendant of U.S. Patent No. 7,103,640. (d) The infringement was not willful. (e) Defendant’s counterclaims 1
through 13, asserting non-infringement; invalidity; unpatentability; and unenforceability of the three patents in
suit, as well as double patenting, are all dismissed with prejudice. (f) Damages are awarded in favor of the
plaintiff and against the defendant in the amount of $525,000,000.

This action was (check one):

     tried by a jury with Judge Matthew F. Kennelly presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Matthew F. Kennelly on a motion
            Case:
ILND 450 (Rev.        1:18-cv-08175
               10/13) Judgment                Document #: 882 Filed: 04/10/24 Page 2 of 2 PageID #:56846
                               in a Civil Action




Date: 4/10/2024                                      Thomas G. Bruton, Clerk of Court

                                                     Melissa Astell , Deputy Clerk
